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                     IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA (Reading)
IN RE:
BRIAN EDWARD BUECKER                                           :    BK. No. 18-17801-ref
A/K/A BRIAN BUECKER                                            :
                                  Debtor                       :    Chapter No. 13
                                                               :
DEUTSCHE BANK NATIONAL TRUST                                   :
COMPANY, AS TRUSTEE FOR SECURITIZED                            :
ASSET BACKED RECEIVABLES LLC TRUST                             :
2007-BR3, MORTGAGE PASS-THROUGH                                :
CERTIFICATES, SERIES 2007-BR3                                  :
                        Movant                                 :
                 v.                                            :
BRIAN EDWARD BUECKER                                           :
A/K/A BRIAN BUECKER                                            :
                        Respondent                             :


   OBJECTION OF DEUTSCHE BANK NATIONAL TRUST COMPANY, AS TRUSTEE
     FOR SECURITIZED ASSET BACKED RECEIVABLES LLC TRUST 2007-BR3,
       MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2007-BR3 TO
            CONFIRMATION OF THE DEBTOR’S CHAPTER 13 PLAN

           Movant, DEUTSCHE BANK NATIONAL TRUST COMPANY, AS TRUSTEE FOR
SECURITIZED ASSET BACKED RECEIVABLES LLC TRUST 2007-BR3, MORTGAGE PASS-
THROUGH CERTIFICATES, SERIES 2007-BR3 (hereinafter referred to as "Movant"), by its attorneys
Phelan Hallinan Diamond & Jones, LLP hereby objects to confirmation of the Debtor's Chapter 13 Plan as
follows:
           1.    Movant is DEUTSCHE BANK NATIONAL TRUST COMPANY, AS TRUSTEE FOR
SECURITIZED ASSET BACKED RECEIVABLES LLC TRUST 2007-BR3, MORTGAGE PASS-
THROUGH CERTIFICATES, SERIES 2007-BR3.
           2.    Debtor is the owner of the property located at 527 WEST CHESTNUT STREET,
LANCASTER, PA 17603.
           3.    On February 5, 2019, Movant filed Proof of Claim listing pre-petition arrears in the amount of
$350,773.17. A copy of the Proof of Claim is attached hereto as Exhibit "A" and made a part hereof.
           4.    Debtor's Plan fails to cure the delinquency pursuant to 11 U.S.C. §1322(b)(5).
           5.    Debtor's Plan currently provides for payment to Movant in the amount of $0.00. A copy of the
Debtor's Plan is attached hereto as Exhibit "B" and made a part hereof.
           6.    Debtor’s Plan provides for the Debtor’s pursuit of a loan modification. Debtor’s Plan is
speculative in nature in that the Plan contemplates curing the arrears through a loan modification that has neither
been offered nor approved.
           7.    Debtor's Amended Plan calls for the sale of the property. There is no documentation to support
such a proposal. The proposed sale of the property is speculative in nature.
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        8.       Movant objects to Debtor's Plan as it is severely underfunded. Debtor's Plan should be
amended to fully fund the arrears owed to Movant during the term of the Plan rather than rely on speculation
that the property will be sold.
        9.       Movant is opposed to sale of the subject property unless it pays Movant’s lien in full, subject to
a payoff. Further, if the Debtor seeks to sell the property the Movant demands full post-petition mortgage
payments be made while sale is pending.
        10.      Additionally, Debtor’s Plan fails to provide for the full monthly post-petition payment owed to
Movant under the terms of the Note and Mortgage. Movant objects to any post-petition payment amount less
than 100% of what is required. Accordingly, confirmation of Debtor’s proposed Plan should be denied.


        WHEREFORE, DEUTSCHE BANK NATIONAL TRUST COMPANY, AS TRUSTEE FOR
SECURITIZED ASSET BACKED RECEIVABLES LLC TRUST 2007-BR3, MORTGAGE PASS-
THROUGH CERTIFICATES, SERIES 2007-BR3 respectfully requests that this Honorable Court deny
confirmation of the Debtor's Chapter 13 Plan.
                                                Respectfully Submitted,

                                                /s/ Robert J. Davidow, Esquire
                                                Robert J. Davidow, Esq., Id. No.321821
                                                Phelan Hallinan Diamond & Jones, LLP
                                                1617 JFK Boulevard, Suite 1400
                                                One Penn Center Plaza
                                                Philadelphia, PA 19103
                                                Phone Number: 215-563-7000 Ext
                                                Fax Number: 215-568-7616
                                                Email: Robert.Davidow@phelanhallinan.com

Dated: February 13, 2019
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                        Exhibit “B”
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BRIAN EDWARD BUECKER
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DFWXDO 3ODQ SURSRVHG E\ WKH 'HEWRU WR DGMXVW GHEWV <RX VKRXOG UHDG WKHVH SDSHUV FDUHIXOO\ DQG GLVFXVV
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         2WKHU FKDQJHV LQ WKH VFKHGXOHG SODQ SD\PHQWV DUH VHW IRUWK LQ  G
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IXWXUH ZDJHV 'HVFULEH VRXUFH DPRXQW DQG GDWH ZKHQ IXQGV DUH DYDLODEOH LI NQRZQ


      F 8VH RI UHDO SURSHUW\ WR VDWLVI\ SODQ REOLJDWLRQV
         ✔ 6DOH RI UHDO SURSHUW\
             6HH  F EHORZ IRU GHWDLOHG GHVFULSWLRQ

            ✔   /RDQ PRGLILFDWLRQ ZLWK UHVSHFW WR PRUWJDJH HQFXPEHULQJ SURSHUW\
                6HH G EHORZ IRU GHWDLOHG GHVFULSWLRQ

      G 2WKHU LQIRUPDWLRQ WKDW PD\ EH LPSRUWDQW UHODWLQJ WR WKH SD\PHQW DQG OHQJWK RI 3ODQ



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     D ([FHSW DV SURYLGHG LQ  E EHORZ DOO DOORZHG SULRULW\ FODLPV ZLOO EH SDLG LQ IXOO
XQOHVV WKH FUHGLWRU DJUHHV RWKHUZLVH

 &UHGLWRU                               7\SH RI 3ULRULW\                      (VWLPDWHG $PRXQW WR EH 3DLG

 Lau & Associates, P.C.                 Debtor's Counsel Fees 507(a)(2)       $ 3,250.00




     E 'RPHVWLF 6XSSRUW REOLJDWLRQV DVVLJQHG RU RZHG WR D JRYHUQPHQWDO XQLW DQG SDLG
OHVV WKDQ IXOO DPRXQW

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         7KH DOORZHG SULRULW\ FODLPV OLVWHG EHORZ DUH EDVHG RQ D GRPHVWLF VXSSRUW REOLJDWLRQ WKDW KDV EHHQ
 DVVLJQHG WR RU LV RZHG WR D JRYHUQPHQWDO XQLW DQG ZLOO EH SDLG OHVV WKDQ WKH IXOO DPRXQW RI WKH FODLP This plan
 provision requires that payments in § 2(a) be for a term of 60 months; see 11 U.S.C. § 1322(a)(4).


  1DPH RI &UHGLWRU                                         $PRXQW RI FODLP WR EH SDLG
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3DUW  6HFXUHG &ODLPV


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      7KH 7UXVWHH VKDOO GLVWULEXWH DQ DPRXQW VXIILFLHQW WR SD\ DOORZHG FODLPV IRU SUHSHWLWLRQ DUUHDUDJHV DQG 'HEWRU
      VKDOO SD\ GLUHFWO\ WR FUHGLWRU PRQWKO\ REOLJDWLRQV IDOOLQJ GXH DIWHU WKH EDQNUXSWF\ ILOLQJ

  &UHGLWRU             'HVFULSWLRQ RI        5HJXODU 0RQWKO\       (VWLPDWHG         ,QWHUHVW 5DWH    $PRXQW WR EH
                       6HFXUHG               3D\PHQW WR EH         $UUHDUDJH         RQ $UUHDUDJH 3DLG WR
                       3URSHUW\ DQG          SDLG GLUHFWO\ WR                        LI DSSOLFDEOH  &UHGLWRU E\
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       E $OORZHG 6HFXUHG &ODLPV WR EH 3DLG LQ )XOO %DVHG RQ 3URRI RI &ODLP RU 3UH
&RQILUPDWLRQ 'HWHUPLQDWLRQ RI WKH $PRXQW ([WHQW RU 9DOLGLW\ RI WKH &ODLP
       ✔1RQH ,I ³1RQH´ LV FKHFNHG WKH UHVW RI  E QHHG QRW EH FRPSOHWHG
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SD\PHQWV XQGHU WKH SODQ

            ,I QHFHVVDU\ D PRWLRQ REMHFWLRQ DQGRU DGYHUVDU\ SURFHHGLQJ DV DSSURSULDWH ZLOO EH ILOHG WR
GHWHUPLQH WKH DPRXQW H[WHQW RU YDOLGLW\ RI WKH DOORZHG VHFXUHG FODLP DQG WKH FRXUW ZLOO PDNH LWV GHWHUPLQDWLRQ
SULRU WR WKH FRQILUPDWLRQ KHDULQJ

         $Q\ DPRXQWV GHWHUPLQHG WR EH DOORZHG XQVHFXUHG FODLPV ZLOO EH WUHDWHG HLWKHU $ DV D JHQHUDO
XQVHFXUHG FODLP XQGHU 3DUW  RI WKH 3ODQ RU % DV D SULRULW\ FODLP XQGHU 3DUW  DV GHWHUPLQHG E\ WKH FRXUW

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VHFXUHG FODLP DQG UHOHDVH WKH FRUUHVSRQGLQJ OLHQ

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                          SURSHUW\                   &ODLP              ,QWHUHVW    9DOXH ,QWHUHVW      EH SDLG
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FRQWUROV RYHU DQ\ FRQWUDU\ DPRXQWV OLVWHG LQ 3DUWV   RU  RI WKH 3ODQ

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FUHGLWRUV VKDOO EH PDGH E\ WKH 7UXVWHH

        ,I 'HEWRU LV VXFFHVVIXO LQ REWDLQLQJ D UHFRYHU\ LQ D SHUVRQDO LQMXU\ RU RWKHU OLWLJDWLRQ LQ ZKLFK 'HEWRU LV
WKH SODLQWLII EHIRUH WKH FRPSOHWLRQ RI SODQ SD\PHQWV DQ\ VXFK UHFRYHU\ LQ H[FHVV RI DQ\ DSSOLFDEOH H[HPSWLRQ ZLOO
EH SDLG WR WKH 7UXVWHH DV D VSHFLDO 3ODQ SD\PHQW WR WKH H[WHQW QHFHVVDU\ WR SD\ SULRULW\ DQG JHQHUDO XQVHFXUHG
FUHGLWRUV RU DV DJUHHG E\ WKH 'HEWRU DQG WKH 7UXVWHH DQG DSSURYHG E\ WKH FRXUW
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DUUHDUDJH

          $SSO\ WKH SRVWSHWLWLRQ PRQWKO\ PRUWJDJH SD\PHQWV PDGH E\ WKH 'HEWRU WR WKH SRVWSHWLWLRQ PRUWJDJH
REOLJDWLRQV DV SURYLGHG IRU E\ WKH WHUPV RI WKH XQGHUO\LQJ PRUWJDJH QRWH

         7UHDW WKH SUHSHWLWLRQ DUUHDUDJH DV FRQWUDFWXDOO\ FXUUHQW XSRQ FRQILUPDWLRQ IRU WKH 3ODQ IRU WKH VROH
SXUSRVH RI SUHFOXGLQJ WKH LPSRVLWLRQ RI ODWH SD\PHQW FKDUJHV RU RWKHU GHIDXOWUHODWHG IHHV DQG VHUYLFHV EDVHG RQ
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WHUPV RI WKH PRUWJDJH DQG QRWH

         ,I D VHFXUHG FUHGLWRU ZLWK D VHFXULW\ LQWHUHVW LQ WKH 'HEWRU¶V SURSHUW\ VHQW UHJXODU VWDWHPHQWV WR WKH
'HEWRU SUHSHWLWLRQ DQG WKH 'HEWRU SURYLGHV IRU SD\PHQWV RI WKDW FODLP GLUHFWO\ WR WKH FUHGLWRU LQ WKH 3ODQ WKH
KROGHU RI WKH FODLPV VKDOO UHVXPH VHQGLQJ FXVWRPDU\ PRQWKO\ VWDWHPHQWV

         ,I D VHFXUHG FUHGLWRU ZLWK D VHFXULW\ LQWHUHVW LQ WKH 'HEWRU¶V SURSHUW\ SURYLGHG WKH 'HEWRU ZLWK FRXSRQ
ERRNV IRU SD\PHQWV SULRU WR WKH ILOLQJ RI WKH SHWLWLRQ XSRQ UHTXHVW WKH FUHGLWRU VKDOO IRUZDUG SRVWSHWLWLRQ FRXSRQ
ERRNV WR WKH 'HEWRU DIWHU WKLV FDVH KDV EHHQ ILOHG

        'HEWRU ZDLYHV DQ\ YLRODWLRQ RI VWD\ FODLP DULVLQJ IURP WKH VHQGLQJ RI VWDWHPHQWV DQG FRXSRQ
ERRNV DV VHW IRUWK DERYH

         F 6DOH RI 5HDO 3URSHUW\
           1RQH ,I ³1RQH´ LV FKHFNHG WKH UHVW RI  F QHHG QRW EH FRPSOHWHG

          &ORVLQJ IRU WKH VDOH RI 527 W. Chestnut S., Lancaster PA WKH ³5HDO 3URSHUW\´ VKDOO EH FRPSOHWHG
 ZLWKLQ 13    PRQWKV RI WKH FRPPHQFHPHQW RI WKLV EDQNUXSWF\ FDVH WKH ³6DOH 'HDGOLQH´ 8QOHVV RWKHUZLVH
 DJUHHG E\ WKH SDUWLHV RU SURYLGHG E\ WKH &RXUW HDFK DOORZHG FODLP VHFXUHG E\ WKH 5HDO 3URSHUW\ ZLOO EH SDLG LQ IXOO
 XQGHU E RI WKH 3ODQ DW WKH FORVLQJ ³&ORVLQJ 'DWH´

          7KH 5HDO 3URSHUW\ ZLOO EH PDUNHWHG IRU VDOH LQ WKH IROORZLQJ PDQQHU DQG RQ WKH IROORZLQJ WHUPV

 If Debtor is unable to acquire a modification or refinancing of the present loan, Debtor intends to list the property
 for sale at the end of a 12 month period from the date of filing of this plan.




           &RQILUPDWLRQ RI WKLV 3ODQ VKDOO FRQVWLWXWH DQ RUGHU DXWKRUL]LQJ WKH 'HEWRU WR SD\ DW VHWWOHPHQW DOO
 FXVWRPDU\ FORVLQJ H[SHQVHV DQG DOO OLHQV DQG HQFXPEUDQFHV LQFOXGLQJ DOO  E FODLPV DV PD\ EH QHFHVVDU\ WR
 FRQYH\ JRRG DQG PDUNHWDEOH WLWOH WR WKH SXUFKDVHU +RZHYHU QRWKLQJ LQ WKLV 3ODQ VKDOO SUHFOXGH WKH 'HEWRU IURP
 VHHNLQJ FRXUW DSSURYDO RI WKH VDOH RI WKH SURSHUW\ IUHH DQG FOHDU RI OLHQV DQG HQFXPEUDQFHV SXUVXDQW WR  86&
 I HLWKHU SULRU WR RU DIWHU FRQILUPDWLRQ RI WKH 3ODQ LI LQ WKH 'HEWRU¶V MXGJPHQW VXFK DSSURYDO LV QHFHVVDU\ RU
 LQ RUGHU WR FRQYH\ LQVXUDEOH WLWOH RU LV RWKHUZLVH UHDVRQDEO\ QHFHVVDU\ XQGHU WKH FLUFXPVWDQFHV WR LPSOHPHQW WKLV
 3ODQ

         'HEWRU VKDOO SURYLGH WKH 7UXVWHH ZLWK D FRS\ RI WKH FORVLQJ VHWWOHPHQW VKHHW ZLWKLQ  KRXUV RI WKH
 &ORVLQJ 'DWH

         ,Q WKH HYHQW WKDW D VDOH RI WKH 5HDO 3URSHUW\ KDV QRW EHHQ FRQVXPPDWHG E\ WKH H[SLUDWLRQ RI WKH 6DOH
 'HDGOLQH
 Debtor will amend this plan as necessary to address such issues, or lender may seek relief from the
 Automatic Stay.




                                                                                           &RQWLQXDWLRQ VKHHW DWWDFKHG
Case 18-17801-ref               34
                            Doc 14              02/13/19 Entered 12/12/18
                                          Filed 12/12/18           02/13/19 13:46:51
                                                                            19:31:05                       Desc Main
                                         Document
                                          Document Page  Page10    11
                                                              7 of 8


         G /RDQ 0RGLILFDWLRQ
           1RQH ,I ³1RQH´ LV FKHFNHG WKH UHVW RI  G QHHG QRW EH FRPSOHWHG

         'HEWRU VKDOO SXUVXH D ORDQ PRGLILFDWLRQ GLUHFWO\ ZLWK Deutsche Bank        RU LWV VXFFHVVRU LQ LQWHUHVW RU LWV
 FXUUHQW VHUYLFHU ³0RUWJDJH /HQGHU´ LQ DQ HIIRUW WR EULQJ WKH ORDQ FXUUHQW DQG UHVROYH WKH VHFXUHG DUUHDUDJH FODLP

        'XULQJ WKH PRGLILFDWLRQ DSSOLFDWLRQ SURFHVV 'HEWRU VKDOO PDNH DGHTXDWH SURWHFWLRQ SD\PHQWV GLUHFWO\ WR
 0RUWJDJH /HQGHU LQ WKH DPRXQW RI 0.00 SHU PRQWK ZKLFK UHSUHVHQWV                                describe
 basis of adequate protection payment 'HEWRU VKDOO UHPLW WKH DGHTXDWH SURWHFWLRQ SD\PHQWV GLUHFWO\ WR WKH
 0RUWJDJH /HQGHU

        ,I WKH PRGLILFDWLRQ LV QRW DSSURYHG E\ 12/12/19       GDWH 'HEWRU VKDOO HLWKHU $ ILOH DQ DPHQGHG 3ODQ WR
 RWKHUZLVH SURYLGH IRU WKH DOORZHG FODLP RI WKH 0RUWJDJH /HQGHU RU % 0RUWJDJH /HQGHU PD\ VHHN UHOLHI IURP WKH
 DXWRPDWLF VWD\ ZLWK UHJDUG WR WKH FROODWHUDO DQG 'HEWRU ZLOO QRW RSSRVH LW

3DUW  2UGHU RI 'LVWULEXWLRQ


7KH RUGHU RI GLVWULEXWLRQ RI 3ODQ SD\PHQWV ZLOO EH DV IROORZV

      /HYHO    7UXVWHH &RPPLVVLRQV
      /HYHO    'RPHVWLF 6XSSRUW 2EOLJDWLRQV
      /HYHO    $GHTXDWH 3URWHFWLRQ 3D\PHQWV
      /HYHO    'HEWRU¶V DWWRUQH\¶V IHHV
      /HYHO    3ULRULW\ FODLPV SUR UDWD
      /HYHO    6HFXUHG FODLPV SUR UDWD
      /HYHO    6SHFLDOO\ FODVVLILHG XQVHFXUHG FODLPV
      /HYHO    *HQHUDO XQVHFXUHG FODLPV
      /HYHO    8QWLPHO\ ILOHG DOORZHG JHQHUDO XQVHFXUHG FODLPV

Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee
not to exceed ten (10) percent.



 3DUW  1RQ 6WDQGDUG RU $GGLWLRQDO 3ODQ 3URYLVLRQV

 ✔ 1RQH ,I ³1RQH´ LV FKHFNHG WKH UHVW RI   QHHG QRW EH FRPSOHWHG                $GG 1RQVWDQGDUG SURYLVLRQV




                                                                         &RQWLQXDWLRQ VKHHW DWWDFKHG
Case 18-17801-ref                34
                             Doc 14             02/13/19 Entered 12/12/18
                                          Filed 12/12/18           02/13/19 13:46:51
                                                                            19:31:05                 Desc Main
                                         Document
                                          Document Page  Page11    11
                                                              8 of 8




  8QGHU %DQNUXSWF\ 5XOH F QRQVWDQGDUG RU DGGLWLRQDO SODQ SURYLVLRQV DUH UHTXLUHG WR EH VHW IRUWK LQ 3DUW 
RI WKH 3ODQ 6XFK 3ODQ SURYLVLRQV ZLOO EH HIIHFWLYH RQO\ LI WKH DSSOLFDEOH ER[ LQ 3DUW  RI WKLV 3ODQ LV FKHFNHG
$Q\ QRQVWDQGDUG RU DGGLWLRQDO SURYLVLRQV VHW RXW RWKHU WKDQ LQ 3DUW  RI WKH 3ODQ DUH 92,' %\ VLJQLQJ EHORZ
DWWRUQH\ IRU 'HEWRUV RU XQUHSUHVHQWHG 'HEWRUV FHUWLILHV WKDW WKLV 3ODQ FRQWDLQV QR QRQVWDQGDUG RU DGGLWLRQDO
SURYLVLRQV RWKHU WKDQ WKRVH LQ 3DUW  RI WKH 3ODQ




                                                            s/Shawn J. Lau, Esq.
         12/12/2018
'DWH
                                                                $WWRUQH\ IRU 'HEWRUV




        ,I 'HEWRUV DUH XQUHSUHVHQWHG WKH\ PXVW VLJQ EHORZ



'DWH
                                                            'HEWRU


'DWH
                                                                -RLQW 'HEWRU
